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                                               No. 24-7700


                          IN THE UNITED STATES COURT OF APPEALS
                                  FOR THE NINTH CIRCUIT


                                             J. DOE l, et al.,

                                                                  Plaintiffs-Appellants,
                                                      v.

                                          GITHUB, INC., et al.,

                                                                 Defendants-Appellees.

                           On Appeal from the United States District Court
                               for the Northern District of California
                                         No. 4:22-cv-06823
                                         Hon. Jon S. Tigar


               BRIEF OF AMICI CURIAE INTELLECTUAL PROPERTY LAW
                   PROFESSORS IN SUPPORT OF APPELLEES AND
                                  AFFIRMANCE


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                                  INTEREST OF AMICI CURIAE

                    Amici, listed in an appendix to this brief, are law professors who

             teach and write about intellectual property law. Amici's sole concern in

             submitting this brief is the proper development of intellectual property

             law. Amici submit this brief to assist the Court in its analysis of the

             purpose and scope of l'7 U.S.C. § 1202.l

                                   SUMMARY OF ARGUMENT

                    This Court should construe 17 U.S.C. §§ l202(b)(l) and l202(b)(3)

             as limited to tampering with copyright management information

             ("CMI") as to identical copies, as the District Court held. This is a sound

             interpretation of the statute in light of its purpose as revealed by

             legislative history, its textual features, and courts' application of the

             statute over time. This interpretation also avoids outsized and

             unjustified claims for statutory damages, such as the $9 billion claim



             1 All parties have consented to the filing of this brief. No party's counsel
             authored this brief in whole or in part, and no party or party's counsel
             made a monetary contribution to fund the preparation or submission of
             this brief. No person or entity made a monetary contribution to the
             preparation or submission of this brief. Amici thank Berkeley Law
             students Ayesha Asad, Ashley Fan, Spencer Feinstein, and Eleanor
             Stalick for their assistance in preparing this brief.
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             that Appellants sought and may seek to revive depending on the

             outcome of their interlocutory appeal.

                    In passing section 1202, Congress was overwhelmingly concerned

             with digital piracy of perfect copies of works, distributed easily, cheaply,

             and widely via the Internet. To provide additional protections for

             copyrighted works, the Digital Millennium Copyright Act ("DMCA")

             included sections 1201 and 1202 as a pair of prohibitions to deter bad

             actors from using digital tools to circumvent technical protection

             measures ("TPMs") and from stripping out or falsifying CMI from those

             pirated copies. And the remedial scheme Congress provided for

             violations of these provisions is likewise crafted to deter and address

             piracy rather than garden-variety copyright infringement. It includes

             statutory damages starting at $2,500 to $25,000 per violation of

             section 1202, ten times higher than the range of statutory damages for

             violating section l20l's anti-circumvention provision.

                    The text of section 1202 supports an identicality requirement.

             CMI is not "removed" or "altered" in the creation of derivative works

             which involve reproductions but are not identical copies of the original

             work. Similarly, section l202(b)(3) does not apply to all rights available

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             to copyright holders under section 106. It reaches only those tied to the

             problem of dissemination of perfect copies: the right of distribution and

             the right of public performance of works.

                    For the most part, courts have faithfully applied this

             understanding of section 1202 and distinguished between two types of

             claims. Claims against defendants that have reproduced or distributed

             entire or partial exact-that is, identical-copies of the plaintiffs work
             with the plaintiffs CMI removed or altered are likely to stand. Claims

             against defendants that have produced new, distinct works are not.

             This distinction is important because identicality supports an inference

             that CMI was removed or altered-and removal or alteration is

             necessary for liability to arise under section 1202.

                    This distinction is also important given the magnitude of liability

             available to plaintiffs with section 1202 claims. Here, Appellants claim

             that Appellees violated section 1202 more than three and a half million

             times in the course of training a generative AI model, initially seeking

             $9 billion in statutory damages. And that would be the statutory

             minimum, with the high end being ninety billion dollars. Appellants

             made-and may seek to revive-this award request despite the fact

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             that there is no copyright infringement claim in the case. Their section

             1202 claim is an exceptional stretch of a law that was intended to do

             much different and narrower work. The identicality requirement keeps

             liability under section 1202 in the bounds of Congressional intent and

             statutory text.
                                               ARGUMENT

             1.     The CMI Rules Are a Response to Technologies That
                    Enabled the Easy Creation and Distribution of"Pelrfect"
                    Copies of Works
                    Section 1202 is an outgrowth of laws, policies, and international

             agreements addressing concerns that emerging digital reprography

             technologies and digital networks made it easy and cheap to create and

             distribute perfect (that is, identical) reproductions of in-copyright works

             in digital form. See Textile Secrets Int'l, Inc. U. Ye-Ya Brand, Inc., 524 F.

             Supp. 2d 1184, 1202 n. l'7 (C.D. Cal. 2007) (observing that Congress

             enacted section 1202 to "give an added layer of protection to certain

             works that were vulnerable to infringement due to advances in modern

             technology, namely the Internet"). With the goal of providing new

             protections to copyright owners against digital piracy, Congress enacted

             two significant laws to respond to these threats. The first was a Sui

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             generis law, the Audio Home Recording Act of 1992, l'7 U.S.C. §§ 1001,

             et seq. ("AHRA"), which requires the manufacturer of certain digital

             audio recording and player technologies to design them to thwart

             consumers' ability to make multiple copies of digital sound recordings.

             The second, the DMCA, included a pair of rules, codified in a new

             Chapter 12 of Title l'7 of the U.S. Code, l'7 U.S.C. §§ 1201 and 1202,

             adapted from AHRA. Both the prohibitions and the penalties for

             violating DMCA provisions were extraordinary and aimed at the unique

             threat posed by the ease with which identical reproductions could be

             made and distributed. The following sections explain the evolution of

             what became section 1202 in order to provide the necessary background

             for interpreting it.

                    A.      The Audio Home Recording Act of 1992
                    Like section 1202, section 1002 of AHRA grew out of concerns with

             digital technologies that enabled the production of perfect copies of

             copyrighted works. In 1987, Sony introduced a new consumer

             electronics product, digital audio tape ("DAT") recording and playback

             machines. Three years earlier, Sony had prevailed in a lawsuit brought

             by Universal City Studios and Disney challenging its manufacture and

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             sale of video tape recording machines ("VTRs"), such as its Betamax

             machines, to the public, even though Sony knew that some consumers

             would use their VTRs to make infringing copies of programs shown on

             broadcast television. Sony Corp. of Am. U. Universal City Studios, Inc.,

             464 U.S. 417, 421-422 (1984). The Supreme Court ruled that Sony was

             not contributorily liable for its customers' infringements because VTRs

             were capable of substantial non-infringing uses, id. at 441-42, such as

             the fair uses that consumers made when preparing time-shift copies of

             television programs to watch at later times. Id. at 456.

                    Home taping of sound recordings had long been an irritant to the

             Recording Industry Association of America ("RIAA") and to music

             publisher groups. In 1989, 40% of Americans over the age of 10 had

             made private copies of sound recordings in the previous year (resulting

             in more than a billion unauthorized copies) and the public

             overwhelmingly thought that private copying was allowed. See Off. of

             Tech. Assessment, Copyright and Home Copying: Technology

             Challenges the Law at 3, II (Oct. 1989). The recording industry

             perceived DAT machines to pose considerably greater risks to their

             businesses than conventional tape recorders because of the higher

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             quality of the identical digital copies from digital copies ripped from

             CDs and the capacity for each digital copy, in effect, to become a factory

             to create more perfect digital copies. The recording industry challenged

             Sony's sales of DAT machines, but the litigation settled as copyright

             holders and device manufacturers worked toward a legislative
             compromise. See Xian Tang, The Class Action as Licensing and Reform

             Device, 122 Colum. L. Rev. 1627, 1647-1648 (2022). That compromise

             was the AHRA.

                    AHRA's legislative history makes clear Conglress's preoccupation

             with mass piracy of "perfect" digital copies: "From a single prerecorded

             work, hundreds of copies and copies of copies might be made that would

             be virtually indistinguishable from the original." H.R. Rep., No. 102-

             873, pt. 2, at 4 (Sept. 21, 1992). Conglress's answer to this threat was a

             "serial copyright management system" ("SCMS") that allowed limited-

             but simultaneously to forestall untrammeled-home copying.                 77




             2 Melville B. grimmer and David grimmer, grimmer on Copyright

             § 8B.0l (2025).

                    The SCMS relied on "flags," i.e., information encoded on digital

             media signifying the copyright status of the work at issue, to prevent

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             serial copying. These "flags ushered us into the world of copyright

             management information." David grimmer, Aus Der Neuen Welt, 93 Nw.

             U. L. Rev. 195, 198 (1998). To prevent tampering with the flags that

             limited home copying, AHRA included an express prohibition on

             encoding a digital music sound recording "with inaccurate information

             relating to the category code, copyright status, or generation status of

             the source material for the recording." 17 U.S.C. § l002(d)(l). Further,

             statutory damages are modest: $25 per digital music recording.
             17 U.S.C. § l009(d)(l)(B)(ii).

                    B.      The National Information Infrastructure Green and
                            White Papers
                    Although digital media and audio devices enabled perfect

             reproductions of in-copyright works, the Internet enabled mass

             distribution of those digital reproductions. In 1994, the Clinton

             Administration's Working Group on Intellectual Property Rights

             published a policy document proposing legislative changes to respond to

             the challenges that digital technologies and the Internet posed for

             copyright owners. See Dep't of Comm. Info. Infrastructure Task Force,

             Green Paper on Intellectual Property and the National Information

             Infrastructure: A Preliminary Draft of the Report of the Working Group

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             on Intellectual Property Rights (July 1994) ("Glreen Paper"). The Green

             Paper's proposed anti-circumvention rule was word-for-word identical to

             its counterpart in AHRA except that it would not be limited to

             circumvention of the SCMS. Id. at 128. Indeed, the Green Paper cited

             AHRA as a model for its CMI provision, although it envisioned a

             broader role for copyright management information than preventing

             serial copies. Id. at 112.

                    Signifying that the Green Paper contemplated tampering with

             CMI as something beyond bare omission of the original CMI in garden-

             variety infringement/substantial similarity cases, it proposed making

             intentional tampering with CMI by removal or falsification a criminal

             offense. Id. at 131. The follow-on White Paper moved the proposed CMI

             provision to its own section of Title l'7, section 1202, but maintained

             significant penalties: a statutory damage award of between $2,500 and

             $25,000 per violation as well as criminal penalties of up to $500,000 or

             5 years imprisonment for tampering with CMI with the intent to

             defraud. Dep't of Comm. Info. Infrastructure Task Force, Intellectual

             Property and the National Information Infrastructure, Appx. 2, at 5




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             (Sept. 1995) ("White Paper"). Only acts that posed a significant risk of

             large-scale piracy would warrant such penalties.

                    The White Paper contended that these provisions were necessary

             because the Internet made it possible "for one individual, with a few key

             strokes, to deliver perfect copies of digitized works to scores of other

             individuals." Id. at 12. Taking up these concerns, the chairs and

             ranking members of the House and Senate Committee introduced the

             White Paper's recommended legislative package as the National

             Information Infrastructure Copyright Protection Act of 1995

             <"n1IcpA">. H.R. 2441, 104th Cong. (1995); S. 1284, 104th Cong. (1995).

             However, that legislation foundered due to opposition from a coalition of

             software developers, academics, librarians, journalists, and others who

             argued that the bill "igor[ed] long-standing copyright provisions-such

             as fair use and educational use exceptions." See, et., Reporters

             Committee for Freedom of the Press, Committee Delays Work on

             Controversial Electronic Copyright Bill (June l'7, 1996).

                    c. The WIPO Copyright Treaty
                    Following the legislative setback, the Clinton administration

             sought to achieve international adoption of its recommendations via the

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             World Intellectual Property Organization ("WIPO"), which convened a

             diplomatic conference in 1996 to update copyright law for the digital

             age. See Pamela Samuelson, The U.S. Digital Agenda at WIPO, 37 Va.

             J. Int'l L. 369, 372-'74, 411, 415-16 (1997). The draft WIPO Copyright

             Treaty proposed a rule that closely resembled the White Paper's

             proposed anti-circumvention rule. See Text of the Substantive and

             Administrative Provisions of the Treaty as Presented to the Diplomatic

             Conference, Art. 13, Records of the Diplomatic Conference on Certain

             Copyright and Neighboring Rights Questions, Vol. l (1996), at 13. It

             also proposed a rights management information (hereinafter CMD2

             anti-tampering rule that was substantively the same as the White

             Paper's, although the draft treaty limited its scope to electronic rights

             management information. Id. at 14.

                    The draft treaty's anti-circumvention and CMI articles were

             almost always discussed together. Echoing debates over AHRA and

             NIICPA, some delegates expressed concerns that the CMI provision




             2 The WIPO Copyright Treaty used the term "rights management
             information" in place of "copyright management information" but the
             terms are interchangeable. We use CMI throughout.
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             would go beyond digital piracy and reach lawful activities, "rest1rict[ing]

             the individuals' ability to use portions of copyrighted works for private

             purposes." WIPO, Diplomatic Conference on Certain Copyright and

             Neighboring Rights Questions, Geneva, December 2-20, 1996,

             CRNR/DC/l02 at 78, 1] 528. These delegates argued that "unless copies

             were distributed in some manner, there would be no prejudice from the

             mere removal or alteration of any rights management information." Id.

             Delegates advocated a narrower scope, with "an explicit link with the

             infringement of rights." Id. at 80. Separately, academics and civil

             society representatives raised concerns that anti-tampering rules could

             "prevent readers from taking measures to protect themselves against

             intrusive monitoring of their activities." Julie E. Cohen, A Right to Read

             Anonymously: A Closer Look at "Copyright Management" in Cyberspace,

             28 Conn. L. Rev. 981, 990 (1996); see also Samuelson, U.S. Digital

             Agenda at WIPO, supra, at 413, 415-17 (summarizing criticism). As a

             compromise, the diplomats agreed to support Articles II and 12 of the

             final WIPO Copyright Treaty, which required member states only to

             have "adequate protection and effective remedies" against the

             circumvention of technological protection measures ("TPMs") and

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             removal or falsification of CMI. WIPO Copyright Treaty, (Dec. 20,

             1996), Arts. II, l2(l). Further, the CMI provision was narrowed to

             cases where a person had "reasonable grounds to know" that tampering

             with CMI would "induce, enable, facilitate or conceal an infringement"

             of rights. Id., Art. l2(l).

                    D.      Codification of Sections 1201 and 1202

                    To implement the WIPO Copyright Tlreaty's anti-circumvention

             and CMI articles, Congress enacted what became sections 1201 and

             1202 in 1998 in a new chapter 12 of Title 17. As enacted, section 1202 is

             substantively similar to the approved WIPO treaty's CMI provision,

             although it does not limit its scope to electronic forms of CMI. The anti-

             circumvention rules were much more controversial and much more

             elaborate than the CMI tampering rules. See Pamela Samuelson,

             Intellectual Property and the Digital Economy: Why the Anti-

             Circumvention Regulations Need to Be Revised, 14 Berkeley Tech. L.J.

             519, 535-536 (1999). Nonetheless, Congress addressed privacy concerns

             by expressly carving out users' personally identifiable information from

             the definition of CMI. See 17 U.S.C. § l202(c).



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                    Like the Commerce Department White Paper, the legislative

             history of Title I of the Digital Millennium Copyright Act refers to

             Conglress's concern that "the digital environment poses a unique threat

             to the rights of copyright owners ... [i]n contrast to the analog

             experience, digital technology enables pirates to reproduce and

             distribute perfect copies of works-at virtually no cost at all to the

             pirate." 144 Cong. Rec. $9935, $9935 (daily ed. Sept. 3, 1998)

             (statement of Sen. Ashcroft). For Congress, the goals of facilitating

             online licensing of works and deterring piracy were linked: "Due to the

             ease with which digital works can be copied and distributed worldwide

             virtually instantaneously, copyright owners will hesitate to make their

             works readily available on the Internet without reasonable assurance

             that they will be protected against massive piracy." S. Rep., No. 105-

             190, at 8 (1998). The CMI provision thus was dual-purposed to

             "facilitate licensing of copyright for use on the Internet and to

             discourage piracy." Id. at 12 n.l8.

                    Congress also elected to maintain the penalties recommended in

             the White Paper. Section 1203 authorizes awards of actual damages or

             statutory damages, injunctive relief, impoundment of devices, costs and

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             reasonable attorney fees. The statutory damage range starts with a

             $2,500 minimum and goes up to $25,000 per violation. l'7 U.S.C.

             § l203(c)(4)(B). The measure of statutory damages suggests that

             Congress considered tampering with CMI a graver offense than

             circumvention of TPMs, with a statutory range of only $200 to $2,500

             per violation. l'7 U.S.C. § l203(c)(4)(A). Further, section 1204

             authorizes criminal penalties for willful violations of section 1202 if

             done for "purposes of commercial advantage or private financial gain."

             17 U.S.C. § l204(a). A first offense can result in a fine of up to $500,000

             and five years in prison or both, while subsequent violations can result

             in a fine of up to $1,000,000 and ten years in prison. Such grave

             consequences are evidence of the serious harm-large-scale digital

             piracy-that Congress anticipated would result from violations of

             section 1202.

             11.    The Text of Section 1202 Supports an Identicality
                    Requirement
                    A careful reading of the texts of section l202(b)(l) and section

             l202(b)(3) further supports an interpretation that limits their scope to

             identical copies. Removal of CMI can facilitate digital piracy, and

             liability under section l202(b) may attach when the defendant knows
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             that removal will do SO. But section l202(b)(l) does not apply when

             secondary works fail to include a first work's CMI. Section l202(b)(3)

             complements section l202(b)(l) in protecting copyright owners from

             digital piracy. That section applies only when works or copies of works

             whose CMI has been removed have been disseminated, not when those

             works have been reproduced, constitute derivative works, or are being

             publicly displayed. Limiting the scope of section 1202 to identical copies

             will ensure that this provision is not misused when secondary uses

             constitute ordinary infringement or are noninfringing.

                    A.      Section 1202(b)(1) Outlaws Infringement-Facilitating
                            Removal of CMI
                    Section l202(b)(l) outlaws removal or alteration of CMI from

             works or copies of works only if the defendant did so intentionally and

             with knowledge that these acts would "induce, enable, facilitate or

             conceal" copyright infringement. Removal or alteration of CMI by itself

             cannot "induce, enable, facilitate or conceal" copyright infringement. See

             Stevens U. Corelogic, Inc., 899 F.3d 666, 674-75 (9th Cir. 2018). A

             section l20l(b)(l) violation may, however, be found if someone

             intentionally removes CMI from, for example, digital photographs with

             the intent of facilitating infringement by a confederate who plans to
                                                          16
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             disseminate infringing copies of those photographs without CMI in

             violation of section l202(b)(3).

                    CMI can be "removed" from a work or copies of a work under

             section l202(b)(l) only if that work or those copies already exist and the

             wrongdoer takes active steps to excise that CMI. As one court observed

             about the meaning of "remove" in interpreting another provision of the

             Copyright Act, "words are presumed to carry their quotidian, common-

             sense meaning.... 'Remove' means '[t]o move from a position

             occupied ... [t]o convey from one place to anothelr."' Bd. of Managers of

             Soho Int'l Arts Condo. U. City of New York, No. Ol-cv-l226-DAB, 2003

             WL 21403333, at *10 (S.D.N.Y. Jun. l'7, 2003) (citing Webster's IL New

             Riverside University Dictionary (1994)) (emphasis added).

                    Creating a secondary work that omits a first work's CMI may

             infringe the earlier work's copyright, but it does not violate

             section l202(b)(l), as the court found in Falkner U. General Motors LLC,

             393 F. Supp. 3d 927 (C.D. Cal. 2018). Falkner was an artist who sued

             General Motors ("GM") because its advertising agency posted online a

             photograph of one of GM's cars in front of part of Falkner's mural which

             had been painted on two sides of a building. The photograph did not

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             include the part of Falkner's mural that identified him as the artist.
             However, the court ruled that merely omitting this information in the

             photograph did not violate section l202(b)(l) because neither the

             photographer nor GM had "removed" CMI from the mural. It granted

             GM's motion for summary judgment on the section l202(b)(l) claim, but

             denied its motion for summary judgment on Falkner's copyright

             infringement claim. Id. at 939-40. See also Williams U. Hy-Vee, Inc., 661

             F. Supp. 3d 871, 884-85 (S.D. Iowa 2023) (adopting Falkner's reasoning;

             failure to include is not removal).

                    Generating a new work, even if it infringes an existing work, does

             not involve removal of CMI. Kipp Flores Architects, LLC U. AMH

             Creekside Dev., LLC, 2l-cv-ll58-XR, 2022 WL 4352480 (W.D. TeX.

             Sept. 16, 2022), resolved this question correctly, beginning with the

             basic dictionary definition of "remove." Id. at *4 (citing Merriam-

             Webster's Dictionary definition of "remove" as "taking away or off," or

             "to get rid of" something). As the court readily concluded, "CMI cannot

             be 'removed' from a separate work that never included CMI to begin

             with." Id. Instead, the court properly required cropping or other means

             of deletion from a copy. Id.; see also Design Basics, LLC U. WK Olson

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             Architects, Inc., No. l'7-cv-7432, 2019 WL 527535, at *5 (N.D. 111.

             Feb. II, 2019) ("Basing a drawing on another's work is not the same as

             removing copyright management information) (quoting Frost-Tsuji

             Architects U. Highway Inn, Inc., No. l3-cv-00496-SOM-BMK, 2014 WL

             5798282, at *5, 7 (D. Haw. Nov. 7, 2014)).

                    To construe section l202(b)(l) as broadly as Appellants do would

             risk making every copyright infringement case into a section l202(b)(l)

             removal case if the second work's author did not identify the first work's

             author or the title of that work when using parts of it in their secondary

             work. Moreover, this would allow plaintiffs to evade copyright law's

             registration requirement and to claim statutory damages far beyond

             what copyright law provides (a minimum of $2,500 per violation as

             compared to a minimum of $750 per infringed work under

             section 504(c)). This would undermine the copyright law's limits on

             enforcement and remedies which depend on registration requirements.

                    B.      Section 1202(b)(3) Outlaws Only Distribution or
                            Public Performance of Works or Copies From Which
                            CMI Has Been Removed or Altered
                    Section l202(b)(3) complements section l20l(b)(l) by making it

             illegal to distribute (including importing for distribution) or publicly

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             perform works or copies of works from which CMI has been removed or

             altered with knowledge of the removal or alteration of the CMI and also

             with knowledge that the dissemination will "induce, enable, facilitate,

             or conceal" copyright infringement.

                    Unlike section 106 of Title l'7, which sets out copyright's five

             exclusive rights, section l202(b)(3) covers only two of them-

             distribution and public performance. This has important implications

             for the proper interpretation of section l202(b)(3) in the larger statutory

             scheme. Section l202(b)(3) has both an infringement-facilitation

             requirement and an exclusive right nexus. Accordingly, the provision

             Congress ultimately adopted, by its terms, did not apply to all CMI

             removal; nor did it apply to all the copyright rights granted by

             section 106, given the focus on preventing unauthorized digital

             distribution or public performance of identical copies.3Making copies of

             works from which CMI has been removed or altered, creating derivative




             3 Notably, a section 106(3) "distribution" also requires the preexistence
             of a copy because it requires a "sale or other transfer of ownership, or by
             rental, lease, or lending"-that is, there must be a preexisting copy that
             can be transferred, rented, leased, or lent (as opposed to a new
             reproduction, derivative work, or public performance) (emphasis added).
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             works, and public displays of works whose CMI was removed or altered

             are not covered by section l202(b)(3) at all.

                    In rejecting a plaintiffs attempt to claim a violation of

             section l202(b)(3) based on the public display right, one court stated:

                    If distribution included public display, then it would be
                    superfluous for Congress to include public display [in section
                    106] as a separate exclusive right for a copyright owner when
                    that right would be encompassed by the right to
                    distribute.... [I]f` Congress wanted to include public display
                    as a violation of § l202(b)(3) it certainly could have done so by
                    specifically including public display in the statutory language.
                    Congress chose not to do so, and the Court will not read public
                    display into § l202(b)(3)'s use of the term distribution.
             FurnitureDealer.Net, Inc. U. Amazoracom, Inc., No. l8-cv-232-JRT-HB,

             2022 WL 891473 (D. Minn. Mar. 25, 2022) at *23; see also Wright U.

             Mich, No. 22-cv-4132, 2023 WL 6219435, at *'7 (E.D.N.Y. Sept. 7, 2023)

             ("distribution" requires a "sale or transfer of ownership extending

             beyond that of a mere public display"). The same reasoning holds true

             for all exclusive rights omitted from that subsection.

                    This Court should take account of Conglress's intentional exclusion

             of three highly significant exclusive rights that guard copyright owners'

             legitimate interests. See Silvers U. Sony Pictures Ent., Inc., 402 F.3d

             881, 885 (9th Cir. 2005) ("The doctrine of expressio unius est exclusio


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             alterius 'as applied to statutory interpretation creates a presumption

             that when a statute designates certain persons, things, or manners of

             operation, all omissions should be understood as exclusions.' ...

             Copyright is a creature of statute, so we will not lightly insert common

             law principles that Congress has left out.") (citation omitted); John

             Wiley & Sons, Inc. U. DRKPhoto, 882 F.3d 394, 405 (Zd Cir. 2018) ("The

             special features of copyright make the application of the expressio unius

             canon especially appropriate.... The copyright regime that Congress

             had adopted and over time amended reflects a legislative balancing of

             rights and duties with unique featulres.") (citation omitted). Non-

             identical copies may infringe copyrights because they constitute a

             substantially similar reproduction of the expression in plaintiffs' works

             (also often known as derivative works), but section 1202 liability does

             not arise simply because an infringing work did not identify the source

             works' authors, even if the source works contained CMI which the




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             infringers ignored. These are not the kinds of copies to which

             section 1202, with its goal of lessening the risk of piracy, was directed.4

                    It is therefore vital to distinguish exact reproductions from inexact

             copies, which might be derivative works. Derivative works regularly

             have different authors and owners than their source works. With a

             movie version of a novel, for example, the novel's author has the

             copyright in the novel, while the movie studio is generally the author

             (through the work for hire doctrine), and copyright owner, of the movie.

             This Court has long recognized this rule. Ashton-Tate Corp. U. Ross, 916

             F.2d 516, 522 (9th Cir. 1990) (agreeing with Weissmann U. Freeman,

             868 F.2d 1313, l3l'7-l8 (Zd Cir. 1989)), that ownership and authorship

             of a derivative work is distinct from ownership and authorship of the

             original). A derivative work authored by another that did not include

             the original's CMI would neither have removed nor altered the CMI of

             the original work.




             4 There can be substantial overlap between the derivative works right
             and reproduction right, but section 1202 does not require the Court to
             distinguish them because it also excludes reproduction from the covered
             rights.
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                    Honoring the literal meanings of "remove" and "alter," and the

             significance of the omitted exclusive rights, yields an interpretation of

             section 1202 consistent with Congressional intent. Further, it avoids a

             morass in which the author of a derivative work could face potential

             1202 liability for failing to name the source work's author in her work,

             and also face potential liability for providing false CMI if she did SO. Cf.

             Daystar Corp. U. Twentieth Century Fox Film Corp., 539 U.S. 23, 36

             (2003) (disfavoring interpretation of trademark statute that would risk

             liability both for crediting and for not crediting original) .

             111.   Courts Have Properly Limited Section 1202 Liability to
                    Identical Copies to Ensure That It Applies Only to Removal
                    or Alteration of CMI
                    Courts have followed section l202's text by limiting its application

             to claims against defendants that have removed or altered CMI from a

             plaintiffs original work. To do this, most courts have distinguished

             between claims against defendants that have reproduced or distributed

             entire or partial exact copies of the plaintiffs original work-having

             removed or altered the CMI -and defendants that have produced new,

             distinct works. Some courts call this identicality, some use different

             terms; some simply apply section 1202 when the works are the same


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             and do not when they are not. However it is termed, an identicality

             requirement helps courts infer whether or not the CMI on an original

             work was tampered with-and thus whether section 1202 was violated.

             Accordingly, "[a]s a rule, the works must be identical for there to be a

             violation." 8 Paul Goldstein, Goldstein on Copyright § 7.18 at 6 (2025-

             2 Supp.)_

                    A.      Courts Have Limited the Application of Section 1202
                            to Identical Works
                    Some courts have expressly required the plaintiffs and

             defendant's works to be "identical" in order to find a section 1202

             violation. Kirk Kara Corp. U. W. Stone & Metal Corp., No. 20-cv-l93l,

             2020 WL 5991503, at *6 (C.D. Cal. Aug. 14, 2020) ("no DMCA violation

             exists where the works are not identical"); O'Neal U. Sideshow, Inc., 583

             F. Supp. 8d 1282, 1287 (C.D. Cal. 2022) (quoting Kirk Kara); Dolls Kill,

             Inc. U. Zoetop Bus. Co., No. 22-cv-l463-RGK-MAA, 2022 WL 169614'77,

             at *4 (C.D. Cal. Aug. 25, 2022) (same); Advanta-STAR Auto. Rsch. Corp.

             of Am. U. Search Optics, LLC, 672 F. Supp. 3d 1035, 1057 (S.D. Cal.

             2023) (same).

                    Most courts use the same approach, though the term "identical"

             has a few stand-ins. Courts have said that a section 1202 claim doesn't
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             lie when the defendant incorporates a plaintiffs "product or original

             work" into a "different product." Faulkner Press, L.L. C. U. Class Notes,

             L.L.C., 756 F. Supp. 2d 1352, 1359 (N.D. Fla. 2010). A claim doesn't lie

             where a defendant only "copied aspects of" an original work rather than

             "directly reproduc[ing]" it. Design Basics, 2019 WL 527535, at *5. A

             section 1202 claim has failed where the defendant produced a

             "nonidentical rendition" or a "separate work" and thus had not

             "remov[ed] [CMI] from a copyrighted work." Kipp Flores U. AMH, 2022

             WL 4352480, at *4; Kipp Flores Architects, LLC U. Pradera SFR, LLC,

             No. 2l-cv-673-XR, 2022 WL ll05'75l, at *3 (w.D. TeX. April 13, 2022>

             (using the same reasoning in a case involving the same plaintiff). A

             claim has similarly failed where it "confllate[d]" the plaintiffs with the

             defendant's works. Michael Grecco Prods., Inc. U. Time USA, LLC,

             No. 20-cv-4875-NRB, 2021 WL 3192543, at *5 (s.D.n.y. July 27, 2021>

             (refusing to apply section l202(a) where the plaintiff "conflate[d] the

             Photographs with the Covers" and defendant Time magazine "created

             unique Covers using plaintiffs Photographs").

                    Whatever the terminology, courts follow the text of section 1202

             by asking whether a defendant "remove[d] [CMI] from the plaintiffs

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             original work" or instead "incorporated the plaintiffs copyrighted

             materials into its own work," creating "distinct products." Park U.

             Skidmore, Owings & Merrill LLP, No. l7-cv-4473-RJS, 2019 WL

             9228987, at *II (S.D.N.Y. Sept. 30, 2019) (deciding a section l202(a)

             claim and citing Faulkner, 756 F. Supp. 2d at 1359-60).

                    Similarly, some courts find support for section 1202 violations

             when the works in question are substantially identical as a factual

             matter. See, et., Energy Intel. Grp., Inc. U. Kayne Anderson Cap.

             Advisors, L.P., 948 F.3d 261, 275-76 (5th Cir. 2020) (changing the PDF

             file names of a subscription-only newsletter and distributing these PDF

             files to others without subscriptions could support a section 1202

             violation); Ruby Mtn. Hell-Ski Guides, Inc. U. SledNV, Inc., No. 24-cv-

             2ll-MMD-CSD, 2025 WL 1587808, at *6-'7 (June 5, D. Nev. 2025)

             (granting summary judgment to the plaintiff on a section l202(a) claim

             where a specific photo of the plaintiffs-the "Seitz Canyon photo"-was

             included on the defendant's website but with the defendant's CMI).

             While these courts did not discuss an identicality requirement per se,

             the cases are straightforward applications of section 1202 precisely

             because they involved substantially identical works.

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                    B.      Identicality Supports an Inference of Removal or
                            Alteration of CMI
                    Identicality is important because it supports an inference of CMI

             removal or alteration from the plaintiffs work, rather than mere

             omission of CMI from a new work. This Court, in Friedman U. Live

             Nation Merck., Inc., for example, found that where the accused

             photographs were "exact copies of the images precisely as they

             appeared" in the original sources, this created a "compelling inference

             that [defendant] directly copied from those sources." 833 F.3d 1180,

             1188 (9th Cir. 2016). Indeed, "the only material difference in the

             [defendant] versions was that the CMI was missing," rendering it

             "necessarily the case that the CMI had been removed on the copied

             version." Id. Similarly, where the photos at issue were identical but for

             a gutter credit change, the Second Circuit considered this an indication

             that the defendant knew that CMI had been removed or altered. Mango

             U. BuzzFeed, Inc., 970 F.3d 167, 169-'73 (Zd Cir. 2020). See also Greg

             Young Publ'g, Inc. U. CafePress, Inc., No. l5-cv-6013-MWF, 2016 WL

             6106752, at *5 (C.D. Cal. Jan. 25, 2016) (an allegation that Defendant

             resized and cropped images, causing CMI to be removed, was "sufficient



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             to create a plausible inference that Defendant intentionally removed

             CMI" from the images) .

                    A lack of identicality between a plaintiffs and defendant's works-

             that is, where the works are distinct and separate from one another-

             supports the opposite inference. In Kirk Kara, for example, the coulrt's

             "review of the side-by-side images included in the Complaint" allowed it

             to determine that the works were not the same and thus that CMI had
             not been removed from the original work. Kirk Kara, 2020 WL 5991503,

             at *6 ("Defendant did not make identical copies of Plaintiffs works and

             then remove the engraved CMI"). Similarly, in Dolls Kill, Inc. U. Zoetop,

             a court considering "knock-off" fashion explained that "[r]e-creating

             another party's work may be unlawful, but it does not necessarily

             implicate the DMCA because copying a work does not require the

             removal or alteration of CMI." Dolls Kill, Inc., 2022 WL 16961477 at *3.

             In that case, despite "similarities," the products were "not exactly the

             same." Id. at *4. That there were differences "undercut any inference

             that Defendants removed or altered Plaintiffs CMI. To find otherwise

             would be to speculate that by merely omitting CMI, Defendants must

             have necessarily removed it. The Court declines to speculate." Id.

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                    Courts across the country have taken this approach. For example,

             in a pair of Texas cases involving architectural drawings, there could be

             no CMI removal where a defendant "genelrate[d] nonidentical

             renditions" of the plaintiffs work, because "CMI cannot be 'removed'

             from a new work that never included the CMI to begin with." Kipp

             Flores U. Pradera, 2022 WL 1105751, at *3; Kipp Flores U. AMH, 2022

             WL 4352480, at *4. The District of Hawaii found that, even where

             works appeared "virtually identical" in the end, "basing a drawing on

             another's work is not the same as removing copyright management

             information." Id. Frost-Tsuji Architects, 2014 WL 5798282, at *5. Courts

             in New York, Florida, and Illinois have reasoned similarly. We the

             Protesters, Inc. U. Sinyangwe, 724 F. Supp. 8d 281, 296-297 (S.D.N.Y

             2024), Faulkner, 756 F. Supp. 2d at 1359-60 (Florida Design Basics,

             2019 WL 527535, at *5 (Illinois).

                    This approach holds even in cases where courts explicitly declined

             to apply an "identicality" requirement. In ADR Int'l Ltd. U. Inst. for

             Supply Mgmt., for example, a Texas court rejected an identicality

             requirement in applying section l202-but on facts that likely met such

             a requirement. 667 F. Supp. 3d 411, 430 (S.D. TeX. 2023). In that case,

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             the defendant alleged "verbatim, or nearly verbatim" copying of

             portions of the plaintiffs copyrighted professional training materials,

             with slight changes in color and font, "stripped" of the plaintiffs CMI

             and "replaced with ... [defendant's] name and logo, falsely claiming to

             be the author and copyright ownelr[.]" Id. at 418-19, 431. See also New

             Parent World, LLC U. True to Life Prods., Inc., No. 23-cv-8089-PCT

             DGC, 2024 WL 4277865, at *2-3 (D. Ariz. Sept. 24, 2024) (denying the

             defendant's motion to dismiss a section l202(b) claim for alleged

             copying and transcribing of copyrighted audio and DVD content in a

             "substantially similar or word-for-word" manner).

                    These cases, then, are not in tension with an identicality

             requirement because, in each case, plaintiffs properly alleged removal

             or alteration of CMI from their original works, with sufficient support

             for the courts to infer this. Indeed, in New Parent World, the court

             noted that "[s]ome cases hold that a work falls outside the DMCA if it is

             'unquestionably a distinct work," but found that the defendants before

             it had failed to provide a basis to support such a finding. Id. at *3,

             quoting Crowley U. Jones, 608 F. Supp. 8d 78, 90 (S.D.N.Y. 2022).




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                    These courts also appear to have followed a red herring by

             assuming that an "identicality" test requires letter-perfect congruence

             between works. See, et., New Parent World, 2024 WL 4277865 at *3

             (quoting grimmer on Copyright at § l2A.l0). But as the case examples

             above show, it is not the case that "changing one sentence" in a "300-

             page book" necessarily would defeat a section 1202 claim. Contra,

             grimmer on Copyright, supra. Rather, an identical reproduction can be

             whole or partial, so long as the reproduction on its face supports the

             inference of CMI removal or alteration. See, et., Real World Media LLC

             U. Daily Caller, Inc., '744 F. Supp. 3d 24, 40 (D.D.C. 2024) (finding that

             an "exact copy of portions of an original work" can support a section

             1202 claim); see also Stevens, 899 F.3d at 672 (downsized copies of

             copyrighted photographs, which have fewer pixels than the original

             photographs but depict the same image, can support a section l202(b)

             claim). In each of these cases, the works in question were substantially

             identical, supporting an inference that CMI was actually removed or

             altered from the plaintiffs work.

                    In sum, courts, regardless of whether they've used the term

             "identicality," have consistently applied section 1202 when there is

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             exact copying of the plaintiffs original work, and not when there is

             incorporation into a defendant's separate, distinct work-because this is

             when removal or alteration of CMI from the plaintiffs original work can

             be inferred. By doing so, courts have applied section 1202 within its

             textual parameters and according to Congress's purpose in creating it.

             A defendant's new, distinct work may copy a little or a lot of the

             plaintiffs work. It may or may not infringe the plaintiffs section 106
             rights. It may or may not be a fair use. But it should not violate

             section 1202.

                                                   CONCLUSION

                    For the foregoing reasons, Amici respectfully request that this

             Court affirm the decision below.

              Dated: July 18, 2025                      Respectfully submitted,

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                                 CERTIFICATE OF COMPLIANCE

                    I, Jennifer M. Urban, certify that the foregoing brief rici curiae

             complies with the word limit of Fed. R. App. P. 29(a)(5) because it

             contains 6,370 words, excluding the items exempted by Fed. R. App.
             P. 32(f). I further certify that this brief complies with the typeface

             requirements of Fed. R. App. P. 32(a)(5) and the type-style

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                    I hereby certify that on July 18, 2025,1electronically filed the

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                                                        Jennifer M. Urban




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                               APPENDIX
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